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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION


ANDREA GOLDBLUM,                            :

       Plaintiff,                           :       CASE NO. 1:19-CV-00398

v.                                          :       JUDGE DLOTT

UNIVERSITY OF CINCINNATI,                   :       MAGISTRATE JUDGE BOWMAN

       Defendant.                           :


                     NOTICE OF WITHDRAWAL OF CO-COUNSEL



       Pursuant to S.D. Ohio Civ. R. 83.4(d), Senior Assistant Attorney General Erin E.

Butcher, in the above-captioned case, withdraws from this case due to change in employment

status that renders her ineligible to continue representing the parties in this matter. Principal

Assistant Attorney General Reid T. Caryer will remain trial counsel. The client has consented to

this withdrawal of co-counsel.

                                                    Respectfully submitted,

                                                    DAVE YOST (0056290)
                                                    Ohio Attorney General

                                                    /s/ Reid T. Caryer

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                                                     /s/ Erin E. Butcher

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                                                     Counsel for Defendant




                                CERTIFICATE OF SERVICE

          I hereby certify that the foregoing was electronically filed with the U.S. District Court

for the Southern District of Ohio on August 28, 2019. Notice of this filing will be sent to all

parties for whom counsel has entered an appearance by operation of this Court’s electronic filing

system.



                                                     /s/ Reid T. Caryer

                                                     REID T. CARYER (0079825)
                                                     Trial Counsel
                                                     Principal Assistant Attorney General




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